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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CARLETON
  NELSON, CASEY KIRSCHNER; ALLCORE
  DEVELOPMENT LLC; FINBRIT
  HOLDINGS LLC; CHESHIRE VENTURES
                                                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; 2010 IRREVOCABLE TRUST; SIGMA
  REGENERATIVE SOLUTIONS LLC;
  CTBSRM, INC.; RODNEY ATHERTON;
  DEMETRIUS VON LACEY; RENRETS
  LLC,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff / Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  PLW CAPITAL I, LLC; BW HOLDINGS;
  LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants /
              Interpleader Counter-Plaintiffs.

                  WAIVER OF ORAL ARGUMENT ON JOINT MOTION
                            ON BRIEFING SCHEDULE
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         Pursuant to Local Civil Rule 7(E), Plaintiffs Amazon.com, Inc. and Amazon Data Services,

  Inc. and Defendant Carleton Nelson hereby waive oral argument on the Joint Motion on Briefing

  Schedule.

  Dated: August 31, 2022                        Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 31, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



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